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                             UNITED STATES JUDICIAL PANEL
                                          on
                               MULTIDISTRICT LITIGATION


IN RE: JUUL LABS, INC., MARKETING, SALES PRACTICES,
AND PRODUCTS LIABILITY LITIGATION                                                     MDL No. 2913



                                       TRANSFER ORDER


         Before the Panel: Common defendant Juul Labs, Inc. (JLI) moves under 28 U.S.C. § 1407
to centralize this litigation in the Northern District of California or the District of New Jersey. The
litigation consists of the ten actions listed on the attached Schedule A, five in the Northern District
of California, two in the Middle District of Alabama, and one each in the Middle District of Florida,
the Southern District of Florida, and the Southern District of New York. The Panel has been notified
of more than forty potentially-related actions.1

        The actions in this litigation involve allegations that JLI has marketed its JUUL nicotine
delivery products in a manner designed to attract minors, that JLI’s marketing misrepresents or omits
that JUUL products are more potent and addictive than cigarettes, that JUUL products are defective
and unreasonably dangerous due to their attractiveness to minors, and that JLI promotes nicotine
addiction. The actions include both putative class actions and individual personal injury cases. In
the briefing to the Panel, a number of responding plaintiffs argued that the Panel should create two
MDLs – one for the putative class actions in the Northern District of California, and a second for the
individual actions in the District of New Jersey.2 The plaintiffs who first advocated that position
stated at oral argument that they now support centralization of all actions in a single MDL. None
of the other plaintiffs who filed briefs in favor of a two-MDL approach presented oral argument. All
other responding parties support centralization of all related actions in one MDL, but they disagree
on an appropriate transferee district. Suggested districts include the Northern District of California,
the Eastern District of Louisiana, the District of Maryland, and the District of New Jersey.

        On the basis of the papers filed and the hearing session held, we find that these actions
involve common questions of fact, and that centralization – of all actions – in the Northern District
of California will serve the convenience of the parties and witnesses and promote the just and
efficient conduct of this litigation. These actions share multiple factual issues concerning the
development, manufacture, labeling, and marketing of JUUL products, and the alleged risks posed


       1
                These and any other related actions are potential tag-along actions. See Panel Rules
1.1(h), 7.1, and 7.2.
       2
               Plaintiffs in three tag-alongs filed a brief requesting separate centralization of the
individual actions in either the Northern District of Illinois or the Eastern District of Wisconsin.
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                                                  -2-

by use of those products. Centralization will eliminate duplicative discovery, the possibility of
inconsistent rulings on class certification, Daubert motions, and other pretrial matters, and conserve
judicial and party resources.

        The proposal to create two MDLs is not well-taken. Given the substantial overlap in the core
factual issues, parties, and claims, a single MDL will best achieve Section 1407’s purposes. The
Panel frequently centralizes dockets comprising both class actions and individual cases. See, e.g.,
In re Aqueous Film-Forming Foams Prods. Liab. Litig., 357 F. Supp. 3d 1391 (J.P.M.L. 2018)
(centralizing litigation consisting of personal injury cases, class actions asserting medical monitoring
and property damage claims, and actions by various governmental entities). As with those dockets,
the transferee judge can use separate tracks or other appropriate pretrial techniques to accommodate
any differences among the actions.

         We select the Northern District of California as the transferee district. JLI is headquartered
in that district, and it represents that most of the key evidence and witnesses are located there. Five
constituent actions, including the first-filed case, are pending in the Northern District of California,
as are several tag-alongs. Judge William H. Orrick III, to whom we assign the litigation, is an
experienced transferee judge. He has been presiding over most of the California actions since they
were filed and already has ruled on two motions to dismiss. We are confident that he will steer this
litigation on a prudent course.

       IT IS THEREFORE ORDERED that the actions listed on Schedule A and pending outside
the Northern District of California are transferred to the Northern District of California, and, with
the consent of that court, assigned to the Honorable William H. Orrick III for coordinated or
consolidated pretrial proceedings.


                                           PANEL ON MULTIDISTRICT LITIGATION




                                                             Sarah S. Vance
                                                                 Chair

                                       Lewis A. Kaplan                 Ellen Segal Huvelle
                                       R. David Proctor                Catherine D. Perry
                                       Karen K. Caldwell               Nathaniel M. Gorton
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IN RE: JUUL LABS, INC., MARKETING, SALES PRACTICES,
AND PRODUCTS LIABILITY LITIGATION                                  MDL No. 2913


                                    SCHEDULE A


           Middle District of Alabama

     WEST v. JUUL LABS, INC., ET AL., C.A. No. 2:19-00505
     HELMS v. JUUL LABS, INC., ET AL., C.A. No. 2:19-00527

           Northern District of California

     COLGATE, ET AL. v. JUUL LABS, INC., ET AL., C.A. No. 3:18-02499
     Y., ET AL. v. JUUL LABS, INC., C.A. No. 3:18-06776
     VISCOMI, ET AL. v. JUUL LABS, INC., ET AL., C.A. No. 3:18-06808
     ZAMPA v. JUUL LABS, INC., C.A. No. 3:19-02466
     SWEARINGEN, ET AL. v. JUUL LABS, INC., ET AL., C.A. No. 3:19-04424

           Middle District of Florida

     NESSMITH, ET AL. v. ALTRIA GROUP, INC., ET AL., C.A. No. 8:19-00884

           Southern District of Florida

     SHAPIRO, ET AL. v. ALTRIA GROUP, INC., ET AL., C.A. No. 0:19-61548

           Southern District of New York

     D.P. v. JUUL LABS, INC., ET AL., C.A. No. 7:18-05758
